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                         Exhibit 8
     Case:
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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

OAKLEY, INC.,
                                                      Case No. 22-cv-02821
                 Plaintiff,
                                                      Judge Edmond E. Chang
v.
                                                      Magistrate Judge Jeffrey Cummings
SURVIVAL GEARS DEPOT and THE
OPERATOR OF
SURVIVALGEARSDEPOT.COM,

                 Defendants.


             ORDER AUTHORIZING ELECTRONIC SERVICE OF PROCESS
               PURSUANT TO FED. R. CIV. P. 4(e) AND 735 ILCS 5/2-203.1

         This Court having heard the evidence before it hereby GRANTS Plaintiff Oakley, Inc.’s

(“Oakley” or “Plaintiff”) Motion for entry of an Order authorizing service of process by email

pursuant to Fed. R. Civ. P. 4(e) and 735 ILCS 5/2-203.1. Accordingly, this Court orders that:

     1. Notice of these proceedings and service of process pursuant to Fed. R. Civ. P. 4(e) and

         735 ILCS 5/2-203.1 shall be deemed effective as to the Defendants named in the

         Complaint by e-mail delivery to support@survivalgearsdepot.com.

     2. Providing notice via e-mail delivery shall constitute notice reasonably calculated under

         all circumstances to apprise the Defendants of the pendency of the action and afford the

         Defendants the opportunity to present their objections.



Dated this 20th day of July 2022.



                                              _____________________________________
                                              Edmond E. Chang
                                              United States District Judge



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